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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1226V
                                     Filed: November 2, 2018
                                        Not for Publication

*************************************
SAMANTHA KRIEG ,                              *
                                              *
              Petitioner,                     *
                                              *     Reasonable attorneys’ fees and costs;
 v.                                           *     Acute disseminated encephalomyelitis;
                                              *     Settlement.
SECRETARY OF HEALTH                           *
AND HUMAN SERVICES,                           *
                                              *
              Respondent.                     *
                                              *
*************************************
Diana L. Stadelnikas, Sarasota, FL, for petitioner.
Amy P. Kokot, Washington, DC, for respondent.

MILLMAN, Special Master

                 DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

       On September 29, 2016, Samantha Krieg (“petitioner”) filed a petition under the National
Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-10–34 (2012) alleging that she suffered acute
disseminated encephalomyelitis (“ADEM”) as a result of her November 3, 2013 receipt of the
influenza (“flu”) vaccine. Pet. at 1.

        On June 18, 2018, the parties filed a stipulation in which they agreed to settle this case
and described the settlement terms. Respondent denies that the flu vaccine caused or
significantly aggravated petitioner’s alleged injury or any other injury. Nonetheless, the parties
agreed to resolve this matter informally. On the same day, the undersigned issued a decision
awarding compensation in the amount and on the terms set forth in the stipulation. Judgment

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  The undersigned intends to post this Ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the Internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished ruling contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims' website
in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).
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entered on June 27, 2018.

        On September 12, 2018, petitioner filed a motion for attorneys’ fees and costs (“Fees
App.”), requesting attorneys’ fees of $21,782.60 and attorneys’ costs of $1,168.80, for a total
request of $22,951.40. Fees App. at 1-2. Pursuant to General Order No. 9, petitioner has
indicated that she has not personally incurred any costs in pursuit of this litigation. Respondent
reacted to the motion on September 26, 2018, indicating that he was “satisfied that the statutory
requirements for an award of attorneys’ fees and costs are met in this case” and asking the
undersigned to “exercise her discretion and determine a reasonable award for attorneys’ fees and
costs.” Response at 2-3. Petitioner filed a reply on the same day, reiterating her belief that the
requested amount of fees and costs is reasonable. Reply at 4. The matter is now ripe for
disposition.

        The Vaccine Act permits an award of “reasonable attorneys’ fees” and “other costs.”
42 U.S.C. § 300aa-15(e)(1). The special master has “wide discretion in determining the
reasonableness” of attorneys’ fees and costs. Perreira v. Sec’y of HHS, 27 Fed. Cl. 29, 34
(1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994); see also Saxton ex rel. Saxton v. Sec’y of HHS, 3
F.3d 1517, 1519 (Fed. Cir. 1993) (“Vaccine program special masters are also entitled to use their
prior experience in reviewing fee applications.”).

        Special masters have previously reduced the fees paid to petitioners due to excessive and
duplicative billing. See Ericzon v. Sec’y of HHS, No. 10-103V, 2016 WL 447770 (Fed. Cl.
Spec. Mstr. Jan. 15, 2016) (reduced overall fee award by 10 percent due to excessive and
duplicative billing); Raymo v. Sec’y of HHS, No. 11-654V, 2016 WL 7212323 (Fed. Cl. Spec.
Mstr. Nov. 2, 2016) (reduced overall fee award by 20 percent), mot. for rev. denied, 129 Fed. Cl.
691 (2016). Special masters have previously noted the inefficiency that results when cases are
staffed by multiple individuals and have reduced fees accordingly. See Sabella v. Sec’y of
HHS, 86 Fed. Cl. 201, 209 (Fed. Cl. 2009). Additionally, it is firmly established that billing for
clerical and other secretarial work is not permitted in the Vaccine Program. Rochester v. United
States, 18 Cl.Ct. 379, 387 (1989) (denied an award of fees for time billed by a secretary and
found that “[these] services ... should be considered as normal overhead office costs included
within the attorneys’ fees rates”); Mostovoy v. Sec’y of HHS, 2016 WL 720969, at *5 (Fed. Cl.
Spec. Mstr. Feb. 4, 2016).

         Based on her experience and review of the billing records submitted by petitioner, the
undersigned finds petitioner’s attorneys’ fees rates to be acceptable and in conformance to what
other special masters have awarded Maglio Firm attorneys and paralegals. However, a number
of minor issues warrant an overall reduction to the total award. First, the undersigned notes that
a total of four different attorneys and thirteen different paralegals worked on this case in some
capacity, despite this being a relatively straight-forward case which settled roughly 1.5 years
after petitioner filed her petition. Several of these individuals made exceedingly small overall
contributions to this case – for example, paralegals Liya Mogese, Angel Rivera, Madison Foley,
and Rosa Salgado all billed only 0.1 hours, while attorneys Amber Wilson and Altom Maglio
billed for less than one hour combined. Fees App. Ex. 9 at 20. Unsurprisingly, a large amount
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of time was ultimately billed on interoffice e-mails due to the large number of individuals
working on this case.

        Additionally, the undersigned notes several entries in which paralegals billed for
administrative or clerical tasks. For example, one entry on November 10, 2016, has a paralegal
billing 2.0 hours on “Review remaining medical records in preparation for attorney review.”
Fees App. Ex. 9 at 4. It is unclear from the records what value is being added by reviewing
records only in preparation for another person to review them, but such work is most properly
classified as administrative. Additionally, several entries contain a component of reviewing the
electronic notice automatically generated by CMECF when a new document is filed by
Petitioner, or for review of minute entries. As experienced Vaccine Program attorneys are
aware, these minute entry indications are roughly three sentences of boilerplate language
automatically generated by CMECF and merely indicate that an event, such as a status
conference, occurred. Even billing the minimum 0.1 hours for review of such entries is, in the
undersigned’s experience, likely excessive.

       For all of the above-mentioned reasons, the undersigned will reduce the total award of
attorneys’ fees by 5%, resulting in a total reduction of $1,089.13. Thus, the total amount of
attorneys’ fees awarded to petitioner is $20,693.47.

         The undersigned finds all of petitioner’s requested costs to be reasonable. These costs
consist of payment for medical records, postage, and the filing fee of this case. Fees App. Ex. 10
at 1. All of these costs are typical of Vaccine Program cases, and petitioner has provided
adequate documentation for all costs. Accordingly, petitioner’s requested costs shall be awarded
in full.

       Accordingly, the undersigned GRANTS petitioner’s application for attorneys’ fees and
costs. The court awards $21,862.27 (representing attorneys’ fees in the amount of $20,693.47
and cost of $1,168.80) in the form of a check made payable jointly to petitioner and Maglio
Christopher and Toale, PA.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.2

IT IS SO ORDERED.


Dated: November 2, 2018                                                  /s/ Laura D. Millman
                                                                         Laura D. Millman
                                                                        Special Master


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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
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